                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

Trishina Lin Jackson,                                 Case No. 21-47574-LSG
                                                      Chapter 7
                     Debtor.                          Hon. Lisa S. Gretchko
________________________________/

                      ORDER APPROVING COMPROMISE

         This matter came before the Court on the Trustee’s Motion for Order

Approving Compromise (“Motion”; ECF No. 21) of the estate’s avoidance claim

concerning the transfer by the Debtor of a 2015 Land Rover to Jackie Russell

Jackson Jr. (“Avoidance Claim”). All interested parties were served with notice of

the Motion and the deadline for responses thereto. No response was timely filed,

and a certification of no response has been filed. The Court has reviewed the

Motion and is sufficiently advised in the premises.

         NOW, THEREFORE, IT IS HEREBY ORDERED as follows:

         A.    A compromise of the Avoidance Claim for $6,000 (the “Settlement

Amount”) is approved.

         B.    The Settlement Amount will be paid in consecutive monthly payments

of $500 per month due on the 1st day of each month beginning April 1, 2022 and

continuing until paid in full.




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      C.     The settlement payments will be made payable to “Mark H. Shapiro,

Trustee” and delivered to Tracy M. Clark, Esq. at Steinberg Shapiro & Clark,

25925 Telegraph Rd., Suite 203, Southfield, Michigan 48033.

      D.     If any settlement payment is not timely delivered and such default is

not cured within seven days after written notice of the default is sent to Jackie

Russell Jackson Jr. at 16154 Raygaert Dr., Clinton Twp., MI 48038, the Trustee

may file a Declaration of Default with this Court, and this order shall thereupon

constitute a judgment in favor of the Trustee and against Jackie Russell Jackson Jr.

for $8,000, plus interest and costs of collection, including attorney fees, and the

Trustee may take collection action under Fed. R. Civ. P. 69(a) to enforce the

judgment, less any payments previously made.

      E.     The Settlement Amount is nonexempt property of the estate.


Signed on April 21, 2022




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